         Case 2:20-cv-01113-GJP Document 225 Filed 09/11/20 Page 1 of 4




                                    UNITED STATES OF AMERICA
                                   FEDERAL TRADE COMMISSION
                                     WASHINGTON, D.C. 20580


Bureau of Competition
                                                                                  September 9, 2020
VIA E-MAIL

Hon. Gerald J. Pappert
James A. Byrne U.S. Courthouse
601 Market Street
Room 5614
Philadelphia, PA 19106
Chambers_of_Judge_Pappert@paed.uscourts.gov

Re:     FTC & Commonwealth of Penn. v. Thomas Jefferson Univ. & Albert Einstein Healthcare
        Network, Civil Action No. 20-01113 (E.D. Pa.)

Dear Judge Pappert:

        We write on behalf of all parties in the above-referenced action regarding the
confidentiality issues discussed on this morning’s teleconference with the Court. The parties
have met and conferred and worked to narrow significantly the extent to which pending motions
to seal before the Court require a decision in advance of the scheduled preliminary injunction
hearing.

         After narrowing their witness lists, and eliminating exhibits that will not be used at the
hearing, we submit that the Court can focus on motions to seal for only four third-parties for
purposes of the hearing. Plaintiffs are prepared to proceed without implicating any third-party
documents subject to motions to seal during the hearing. Defendants have identified 18 exhibits
at issue for each of these third parties that they may use at the hearing, which are identified in the
attachment and organized by entity. While the parties anticipate that additional documents might
be used in their post-hearing filings, the confidentiality of these documents can be addressed at
that later time after the hearing.

        In addition, the parties have reduced the number of Defendants’ own documents that are
subject to proposed sealing for purposes of the hearing. These are identified in the attachment
and total 37 exhibits. The parties respectfully propose that, prior to the hearing, the Court need
rule only on the portions of the pending Defense motions to seal implicated by the below
documents. While Defendants seek to seal certain additional Defendant documents on their
exhibit list, to the extent such documents are used at the hearing, Defendants anticipate relying
upon redacted documents that omit confidential material. Any information in the documents
actually used at the hearing to elicit testimony will remain un-redacted. Any issues related to the
confidentiality of redacted material could be addressed following the hearing.



                                                  1
         Case 2:20-cv-01113-GJP Document 225 Filed 09/11/20 Page 2 of 4




        The parties also jointly moved for provisional sealing of their respective expert reports
pending the Court’s rulings on the other party and third-party motions to seal. Dkt. 173. The
parties respectfully suggest that the Court may defer ruling on that issue until after the hearing.
The parties will endeavor to examine experts in a way that elicits only information that is not
confidential.

        The parties greatly appreciate Your Honor’s patience and thank Your Honor for your
attention to these issues.

                                              Respectfully submitted,

                                              /s/ Mark Seidman
                                              Mark Seidman
                                              Counsel for Plaintiff
                                              Federal Trade Commission

                                              /s/ Tracy Wertz
                                              Tracy Wertz
                                              Counsel for Plaintiff
                                              Commonwealth of Pennsylvania

                                              /s/Paul Saint-Antoine
                                              Paul Saint-Antoine
                                              Counsel for Defendant
                                              Thomas Jefferson University

                                              /s/ Virginia Gibson
                                              Virginia Gibson
                                              Counsel for Defendant
                                              Albert Einstein Healthcare Network



Enclosure
cc: All Counsel of Record (via e-mail)




                                                  2
         Case 2:20-cv-01113-GJP Document 225 Filed 09/11/20 Page 3 of 4




                                       Appendix A
              Third-Party Witnesses and Documents at Issue in Motions to Seal

Plaintiffs do not anticipate using any third-party documents addressed in the third parties’
motions to seal.

Defendants reasonably anticipate using the following third-party documents addressed in third
parties’ motions to seal:

   1. IBC
          a. DX323 (IBC011440-SUB)
          b. DX317 (IBC07584- SUB)
          c. DX333 (IBC009418- SUB)
          d. DX332 (IBC008791-SUB
          e. DX9512 (Snyder deposition transcript)
          f. DX9511 (Staudenmeier deposition transcript)
   2. Genesis
          a. DX2103 (GHC-000260)
          b. PX7049 (deposition transcript)
   3. Cigna
          a. DX204, DX205 (CI-TJU-LIT3347)
          b. DX206 (CI-TJU-LIT787)
          c. DX 208 (CI-TJU-LIT359)
          d. DX209 (CIGTU000000001)
          e. DX219 (CIGTU6661)
          f. DX8817 (deposition transcript)
   4. St. Mary
          a. DX2305, DX2315, DX2317 (STM0091)
          b. DX2308 (STM0481)
          c. DX2311 (STM0510)
          d. DX8833 (deposition transcript)




                                                 3
 Case 2:20-cv-01113-GJP Document 225 Filed 09/11/20 Page 4 of 4




                              Appendix B
 Party Defendant Fact Witnesses and Documents at Issue in Motions to Seal

The parties reasonably anticipate using the following Defendant documents addressed in
Defendants’ motions to seal, with the exception of redacted documents that might be used
by Defendants:

   PX1051
   PX1074
   PX1153
   PX1261
   PX1310
   PX1364
   PX1365
   PX1368
   PX1375
   PX1382
   PX1395
   PX1404
   PX1412
   PX2045
   PX2091
   PX2099
   PX2109
   PX2122
   PX2142
   PX2143
   PX2175
   PX2241
   PX2245
   PX2316
   PX2345
   PX2402
   PX2408
   PX2435
   PX2459
   PX6049
   PX1375
   PX1300
   PX1412
   DX9372
   DX9420
   DX9436




                                       4
